Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 1 of 13




                                                      EXHIBIT A01
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 2 of 13




                                                      EXHIBIT A02
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 3 of 13




                                                      EXHIBIT A03
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 4 of 13




                                                      EXHIBIT A04
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 5 of 13




                                                      EXHIBIT A05
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 6 of 13




                                                      EXHIBIT A06
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 7 of 13




                                                      EXHIBIT A07
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 8 of 13




                                                      EXHIBIT A08
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 9 of 13




                                                      EXHIBIT A09
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 10 of 13




                                                      EXHIBIT A10
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 11 of 13




                                                      EXHIBIT A11
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 12 of 13




                                                      EXHIBIT A12
Case 3:21-cv-00497-DPJ-FKB Document 1-1 Filed 07/28/21 Page 13 of 13




                                                      EXHIBIT A13
